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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


KIMBERLY NESTER,

                    Plaintiff,
                                                         Case No. 17-cv-10487
v.                                                       Honorable Paul D. Borman

CREDIT ONE FINANCIAL,

                 Defendant.
______________________________________________/

                                  ORDER OF DISMISSAL

      On March 30, 2017, the parties filed a stipulation to dismiss Plaintiff’s claims against

Defendant with prejudice. Accordingly, it is ORDERED that the above matter is

DISMISSED with prejudice.



                                          s/Paul D. Borman
                                          PAUL D. BORMAN
                                          UNITED STATES DISTRICT JUDGE

Dated: March 30, 2017

                                 CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney
or party of record herein by electronic means or first class U.S. mail on March 30, 2017.


                                          s/Deborah Tofil
                                          Case Manager
